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 8   KUDOS, INC.
                                  UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                       SAN FRANCISCO DIVISION
11
      KUDOS, INC., an Alberta, Canada                 CASE NO. 3:20-cv-01876-SI
12
      Corporation,
13                                                    PLAINTIFF’S NOTICE OF MOTION
                    Plaintiff,                        AND MOTION FOR SUMMARY
14           v.                                       JUDGMENT RE: GENERICNESS AND
                                                      LACHES
15    KUDOBOARD, LLC, a Louisiana Limited
      Liability Company; Aaron Rubens, an             Hearing date: October 29, 2021
16
      individual residing in California,              Time: 10am
17
                    Defendants.                       Hon. Susan Y. Illston
18

19
20    KUDOBOARD, LLC, a Louisiana Limited
      Liability Company; Aaron Rubens, an
21    individual residing in California,

22                  Counterclaimant,
             v.
23

24    KUDOS, INC., an Alberta, Canada
      Corporation,
25
                    Counterclaim-defendant.
26

27

28

28
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 1           PLEAE TAKE NOTICE that pursuant to FRCP 56, on October 29, 2021 at 10am, plaintiff and

 2   counterclaim-defendant Kudos, Inc. (“Plaintiff” or “Kudos”) will move for partial summary

 3   judgment dismissing with prejudice defendants Kudoboard, LLC and Aaron Rubens’ (collectively

 4   “Defendants”) Second Affirmative Defense and Counterclaim alleging that Plaintiff’s KUDOS-

 5   containing marks are generic; and Defendants’ Seventh Affirmative Defense alleging that Plaintiff’s

 6   claims are barred by laches. See ECF No. 24. This motion (“Motion”) is based upon this Notice of

 7   Motion and Motion, the following Memorandum of Points and Authorities, the supporting declaration

 8   of Plaintiff’s CEO Muni Boga (“Boga Decl.”), the supporting declaration of Plaintiff’s counsel

 9   Benjamin Ashurov (“Ashurov Decl.”), and all pleadings and papers on file in this action and such

10   further evidence that may be submitted to the Court.

11                            MEMORANDUM OF POINTS AND AUTHORITIES

12           Plaintiff’s Complaint alleges that Defendants have infringed Plaintiff’s rights in the mark

13   KUDOS and in certain related KUDOS-containing marks (collectively, the “KUDOS Marks”)

14   federally registered with the U.S. Patent and Trademark Office (“USPTO”). ECF No. 1. For

15   Defendants’ Counterclaim and Second Affirmative Defense, Defendants allege that the KUDOS

16   Marks are generic and are incapable of receiving protection as trademarks. ECF No. 24. In view of

17   this alleged genericness, Defendants allege that Plaintiff’s trademark registrations for the KUDOS

18   Marks (collectively, “KUDOS Registrations”) should be cancelled pursuant to 15 U.S.C. §§ 1064 and

19   1119. Id. Discovery has now closed, and the record is clear that there is no genuine issue as to any

20   material fact relating to the validity and non-generic nature of the Kudos Marks, and that Plaintiff is

21   entitled to a judgment as a matter of law that the KUDOS Marks are not generic. Likewise, the record

22   is clear that no genuine issue exists as to any material fact relating to Defendants’ laches defense and

23   that Plaintiff is entitled to a judgment as a matter of law that Plaintiff’s claims are not barred by laches.

24   I.      INTRODUCTION

25           There is no evidence of record suggesting that the KUDOS Marks are understood by

26   purchasers of Plaintiff’s goods and services primarily as a reference to a genus, class, or category of

27   any product or service offered by Plaintiff. The USPTO’s Trademark Trial and Appeal has already

28   upheld the distinctiveness of Plaintiff’s marks in a decision that was litigated to conclusion on the

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 1   merits. It appears Defendants’ genericness claim is merely a repackaged “mere descriptiveness”

 2   allegation. Repackaging “mere descriptiveness” allegations as “genericness” allegations is a tactic

 3   sometimes undertaken by defendants facing incontestable registrations. See e.g., PayCargo, LLC v.

 4   CargoSprint LLC, No. 1:19-CV-22995, 2021 WL 2592417, at *9 (S.D. Fla. June 4, 2021) (“. . . the

 5   more glaring issue to the Court is that Defendants’ genericism argument is a repackaged version of its

 6   prior argument at the preliminary injunction phase that the mark is merely descriptive.”). This appears

 7   to be the strategy Defendants have deployed in this case in order to somehow throw into question the

 8   validity of Plaintiff KUDOS Marks and registrations – presumably to obtain leverage over Plaintiff. In

 9   doing so, Defendants have attempted to fit a square peg into a round hole and have advanced a

10   meritless position which should be dismissed by the Court. Likewise, Defendants’ laches defense

11   should also be dismissed for the reasons set forth hereinbelow.

12   II.     STATEMENT OF ISSUES TO BE DECIDED

13           1.      Whether Defendants have come forward with sufficient evidence sufficient to create an

14   inference disputing the presumption Plaintiff’s KUDOS Marks and KUDOS Registrations are valid.

15           2.      Whether Defendants have come forward with any evidence sufficient to create an

16   inference that application of laches bars Plaintiff’s claims in this action.

17   III.    FACTUAL BACKGROUND

18                a. Plaintiff’s Business and Its KUDOS Marks

19           Plaintiff is a software company that has offered in U.S. commerce since at least as early as

20   2011 under the trademark KUDOS an intraorganizational social networking software solution (the

21   “Kudos Platform”) designed for use by customers (typically business and other organizations) as an

22   internal communication tool, an employee engagement tool, and a “people” analytics tool. Boga Decl.

23   ¶ 3. Built on the idea that positive reinforcement and meaningful engagement reduces absenteeism and

24   apathy at work, the Kudos Platform is designed to facilitate positive communication and interaction

25   among members of subscribing organizations in order to enhance engagement and morale. Id. ¶ 4.

26           Plaintiff operates its primary website at the domain name kudos.com. Id. ¶ 5. The Kudos

27   Platform offers a variety of communication features typical of social networks. Id. ¶ 6. The Kudos

28   Platform also offers a proprietary recognition system that enables users of the platform to recognize

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 1   other users for things like outstanding performance, achievement of workplace milestones like work

 2   anniversaries or promotions, or personal milestones like birthdays, and to send to the individuals being

 3   recognized “points” that correspond to the level of recognition being provided. Id. ¶ 7. Users of the

 4   Kudos Platform can redeem they points they have received for certain rewards like gift cards and other

 5   items of value specified by the administrators of each Kudos Platform subscriber account. Id. Given

 6   the types of activities the Kudos Platform facilitates, and the type of data and insight that can be

 7   generated from analyzing such activities from a bird’s eye view, Plaintiff has also incorporated into

 8   the Kudos Platform analytics and performance management solutions for use by management or other

 9   organizational administrators. Management or administrators can receive insightful data regarding

10   individual performance and engagement, and regarding organizational performance, unity, and culture.

11   Id. ¶ 8. The Kudos Platform is offered in the form of a web application, downloadable application, and

12   an integration widget enabling the Kudos Platform to be integrated with third party software solutions.

13   Id. ¶ 9.

14              Since inception, Plaintiff has always used KUDOS as its primary brand name and source

15   identifier. Id. ¶ 10. To protect its rights in KUDOS and other KUDOS Marks, Plaintiff has obtained

16   numerous U.S. trademark registrations from the USPTO. Id. ¶ 11; Ashurov Decl. ¶¶ 5-15. Plaintiff has

17   actively policed its KUDOS Marks against accused infringers, including by sending cease and desist

18   demands, filing complaints in U.S. district court, and pursuing oppositions and cancellations before

19   the TTAB. Boga Decl. ¶¶ 12-13. In a recent TTAB decision decided on the merits, the TTAB among

20   other things confirmed the inherent distinctiveness and validity of Plaintiff’s KUDOS Marks and

21   Kudos Registrations. Id., Ex. I at 11 (“Given the suggestive nature of Opposer’s mark, and the paucity

22   of evidence showing Opposer’s ranking within the social networking field, we accord Opposer’s mark

23   an ordinary scope of protection.”)

24                 b. Plaintiff’s Awareness of Defendants and Their Use of KUDOBOARD

25              Plaintiff first became aware of Defendants in February of 2019. Id. ¶ 17. Following a series of

26   discussions with Defendants about a business proposal Defendants sent Plaintiff, and later, about

27   Defendants’ objectionable use of KUDOBOARD, Plaintiff filed its Complaint in this action on March

28   17, 2020 (ECF No. 1). Id. ¶¶ 18-22.

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 1   IV.     LEGAL STANDARDS

 2               a. Summary Judgment

 3           Summary judgment is appropriate where the record, read in the light most favorable to the non-

 4   moving party, indicates that “there is no genuine issue as to any material fact and ... the moving party

 5   is entitled to a judgment as a matter of law.” Fed.R.Civ.P. 56(c); see also Celotex Corp. v. Catrett, 477

 6   U.S. 317, 323–24, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986). Material facts are those necessary to the

 7   proof or defense of a claim, and are determined by reference to substantive law. Anderson v. Liberty

 8   Lobby, Inc., 477 U.S. 242, 248, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986). A factual issue is genuine “if

 9   the evidence is such that a reasonable jury could return a verdict for the nonmoving party.” Id. at 248.

10   In deciding a motion for summary judgment, “[t]he evidence of the nonmovant is to be believed, and

11   all justifiable inferences are to be drawn in his favor.” Id. at 255. Where party will have burden of

12   proof on an element essential to its case at trial and does not, after adequate time for discovery, make a

13   showing sufficient to establish the existence of that element, there can be no genuine issue as to any

14   material fact since a complete failure of proof concerning an essential element of the nonmovant's case

15   necessarily renders all other facts immaterial. Celotex Corp. v. Catrett, 477 U.S. 317, 106 S. Ct. 2548,

16   91 L. Ed. 2d 265 (1986).

17               b. Trademark Genericness

18           The U.S. Supreme Court recently confirmed that a generic term is one that names a “class” of

19   goods or services. United States Pat. & Trademark Off. V. Booking.com B. V., 140 S. Ct. 2298, 2304,

20   207 L. Ed. 2d 738 (2020). (“First, a ‘generic’ term names a ‘class’ of goods or services, rather than

21   any particular feature or exemplification of the class.”) (emphasis added) (citing §§ 1127, 1064(3),

22   1065(4) (referring to “the generic name for the goods or services”)) (citing also Park ’N Fly, 469 U.S.

23   at 194, 105 S. Ct. 658 (“A generic term is one that refers to the genus of which the particular product

24   is a species.”)). The relevant meaning of a term is its meaning to buyers. Id. (citing Bayer Co. v.

25   United Drug Co., 272 F. 505, 509 (SDNY 1921) (Hand, J.) (“What do the buyers understand by the

26   word for whose use the parties are contending?”). Concluding that booking.com was not generic,

27   Justice Ginsburg wrote as follows:

28

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              Under these principles, whether “Booking.com” is generic turns on whether that term,
 1            taken as a whole, signifies to consumers the class of online hotel-reservation services.
 2            Thus, if “Booking.com” were generic, we might expect consumers to understand
              Travelocity—another such service—to be a “Booking.com.” We might similarly
 3            expect that a consumer, searching for a trusted source of online hotel-reservation
              services, could ask a frequent traveler to name her favorite “Booking.com” provider.
 4
     Id. at 2304–05 (emphasis added).
 5
             In determining whether a term is generic, courts rely on the “who-are-you/what-are-you” test
 6
     set forth in Official Airline Guides, Inc. v. Goss, 6 F.3d 1385, 1391 (9th Cir.1993). Under that test, a
 7
     protectable mark “answers the buyer's question “who are you?” but the generic name of the product
 8
     answers the question “what are you?” See Premier Nutrition, Inc. v. Organic Food Bar, Inc., No.
 9
     SACV06-0827 AGRNBX, 2008 WL 1913163, at *4 (C.D. Cal. Mar. 27, 2008), aff'd, 327 F. App'x
10
     723 (9th Cir. 2009) (internal quotations and citations omitted). A court determining distinctiveness
11
     considers standards of meaning prevalent among prospective purchasers of the product or service.
12
     Calista Enterprises Ltd. v. Tenza Trading Ltd., 43 F. Supp. 3d 1099, 1115 (D. Or. 2014) (internal
13
     citation and quotation omitted). For a mark to be generic, a challenger must prove that consumers
14
     primarily understand the challenged term to refer to the genus or class of the goods and services
15
     offered by the trademark owner. Elliott v. Google, Inc., 860 F.3d 1151, 1156 (9th Cir. 2017) (“If the
16
     relevant public primarily understands a mark as describing ‘who’ a particular good or service is, or
17
     where it comes from, then the mark is still valid. But if the relevant public primarily understands a
18
     mark as describing ‘what’ the particular good or service is, then the mark has become generic.”)
19
     (internal quotation omitted). “In sum, we ask whether the primary significance of the term in the
20
     minds of the consuming public is the product and not the producer.” Id. To determine that a term is
21
     generic, is it not enough that the term has some significance to the public as the name of an
22
     article; the primary significance of the term must be generic. E.g., Tiffany & Co. v. Costco
23
     Wholesale Corp., 994 F. Supp. 2d 474, 481 (S.D.N.Y. 2014) (citation omitted) (emphasis added).
24
                 c. Registered Marks Are Presumed Valid
25
             Federal registration of a trademark endows it with a strong presumption of validity, including
26
     “the specific presumption that the trademark is not generic.” Id. (quoting KP Permanent Make–Up,
27
     Inc. v. Lasting Impression I, Inc., 408 F.3d 596, 604 (9th Cir.2005). To overcome this presumption,
28

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 1   the challenger must show by a preponderance of the evidence that the term was or has become generic.

 2   Id. (internal quotation and citation omitted). “The crucial date for the determination of genericness is

 3   the date on which the alleged infringer entered the market with the disputed mark or term.” Id.

 4   (quoting Yellow Cab Co. v. Yellow Cab of Elk Grove, Inc., 419 F.3d 925, 928 (9th Cir. 2005)).

 5               d. Laches

 6           Laches is an equitable limitation on a party's right to bring suit. To establish laches, a

 7   defendant must show an unreasonable delay by plaintiff in bringing suit, and prejudice to itself.

 8   Determining whether a plaintiff delayed unreasonably consists of (1) assessing the length of the delay

 9   and then (2) determining whether the delay was reasonable. Kiva Health Brands LLC v. Kiva Brands

10   Inc., 439 F. Supp. 3d 1185, 1191–92 (N.D. Cal. 2020) (internal quotations and citations omitted). The

11   Court must establish the length of the delay measured from the time plaintiff knew, or in the exercise

12   of reasonable diligence, should have known about its potential cause of action. Id. (internal quotation

13   and citation omitted). The Court stops the clock on delay “when the lawsuit in which the defendant

14   seeks to invoke the laches defense is initiated.” Id. (quoting Eat Right Foods Ltd. v. Whole Foods

15   Mkt., Inc., 880 F.3d 1109, 1116 (9th Cir. 2018)). Courts are to decide whether a delay is reasonable “in

16   reference to the limitations period for the analogous action at law.” Id. (quoting Jarrow Formulas, 304

17   F.3d at 835. The most analogous state statute of limitations in this case is California's four-year statute

18   of limitations for trademark infringement actions. See Pinkette Clothing, Inc. v. Cosmetic Warriors

19   Ltd., 894 F.3d 1015, 1025 (9th Cir. 2018).

20   V.      ARGUMENT: PLAINTIFF’S KUDOS MARKS ARE NOT GENERIC

21           With respect to Defendants’ genericness challenge, the inquiry is whether KUDOS, or any of

22   Plaintiff’s KUDOS Marks are primarily understood by purchasers of Plaintiff’s goods and services to

23   refer to the genus or class of Plaintiff’s goods and services. Here, there is no record evidence

24   supporting the idea that consumers understand, at all, and certainly not primarily, that the KUDOS

25   Marks reference a genus of any class of goods and services, including Plaintiff’s. Plaintiff’s KUDOS

26   Marks are registered with the USPTO and are therefore presumed to be not generic. Threshold

27   Enterprises Ltd. v. Pressed Juicery, Inc., 445 F. Supp. 3d 139, 148 (N.D. Cal. 2020). Defendants bear

28   the burden of proving that the KUDOS Marks are generic and do not deserve protection as a

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 1   trademark. Id. A court determines whether a mark is generic by (i) identifying the category of goods or

 2   services to which the mark is meant to apply and (ii) analyzing whether the relevant consuming

 3   public's primary perception of the mark is as a source of a product or as a type, category, or kind of

 4   product. Threshold Enterprises Ltd. v. Pressed Juicery, Inc., 445 F. Supp. 3d 139, 148 (N.D. Cal.

 5   2020).

 6               a. The Classes of Plaintiff’s Goods and Services are Employee Engagement
                    Software or Corporate Social Networking Software
 7
              Plaintiff’s Kudos Platform can be described generically primarily as an intracompany social
 8
     networking software or employee engagement software. Boga Decl. ¶ 3. It can also be described
 9
     employee recognition and rewards software, social recognition software, or an employee experience
10
     platform. Id. This is consistent with Plaintiff’s own description of its software in advertising and
11
     promotional materials, and with descriptions of Plaintiff’s business in trade publications in and
12
     industry research papers. See e.g., Boga Decl., Exs. E, J, K, L, M; Ashurov Decl., Exs. 15-47.
13
                 b. There Is No Evidence Suggesting that KUDOS Is Primarily Understood By
14                  Consumers of Plaintiff’s Software as a Reference to the Genus or Class of
                    Plaintiff’s Software
15
              A Court considers several factors when determining whether a mark is generic. This includes
16
     uncontested generic use by competitors, generic use by the plaintiff, dictionary definitions, relevant
17
     media usage, testimony of persons in the trade, and consumer surveys. McCarthy on Trademarks and
18
     Unfair Competition § 12:13 (5th ed. 2020). Defendants have failed to come forward with any evidence
19
     of generic use in any of these categories. At best, Defendants have identified casual or descriptive uses
20
     of “kudos” on the internet, which of course, is not surprising given that “kudos” is a dictionary term.
21
     Even when viewed in the light most favorable to Defendants, such evidence is insufficient to
22
     overcome the presumption, and the overwhelming supporting evidence that Plaintiff’s KUDOS Marks
23
     are not generic.
24
                          i. KUDOS in Dictionary Definitions. Defendants have not come forward with
25
     any dictionary definitions suggesting that KUDOS is generic. A review of “kudos” in dictionaries
26
     confirms that “kudos” is not defined as any type of class or genus of any goods and services.
27
     Dictionary.com defines “kudos” as “honor, glory, acclaim.” Ashurov Decl. ¶ 1. Similarly, Merriam
28

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 1   Webster dictionary defines “kudos” as (1) “praise given for achievement” and (2) “fame and renown

 2   resulting from an act or achievement.” Id. ¶ 2. According to these definitions, KUDOS might be

 3   suggestive of Plaintiff’s goods and services, as the TTAB recently found, but it is not generic. Boga

 4   Decl. ¶ 14 (TTAB Holding Plaintiff’s KUDOS Marks to be suggestive). The word “escalator” is an

 5   apt comparison because “escalator” is a well-known case of a mark which became a generic

 6   categorical term. Merriam Webster defines “escalator” as a “a power-driven set of stairs arranged like

 7   an endless belt that ascend or descend continuously.” Ashurov Decl. ¶ 3. This dictionary definition

 8   confirms that, unlike “kudos,” “escalator” is generic because it defines the term as the genus or class

 9   of goods it represents, namely, a driven set of stairs. Under the who are you/what are you test,

10   “escalator” would clearly answer the question “what are you?” In contrast, “kudos” does not answer

11   the question “what are you?” In response to “what are you?”, responding with “I am a kudos” would

12   make no logical sense.

13                       ii. Plaintiff’s Use of KUDOS. Defendants have not come forward with any

14   evidence suggesting Plaintiff uses KUDOS in a generic manner, i.e., to refer to the class or genus of

15   Plaintiff’s goods and services. A review of Plaintiff’s uses of KUDOS confirms that Plaintiff uses

16   KUDOS as a trademark and source identifier for its goods and services. Boga Decl., Exs. A-F

17   (showing use of KUDOS by Plaintiff as a trademark). Under the who are you/what are you test,

18   Plaintiff’s use of” kudos” without a doubt would answer the question “who are you?” and not “what

19   are you?” Id.

20                      iii. Use By Trade Media in Plaintiff’s Industry. Defendants have not come forward

21   with any trade media publications suggesting that KUDOS is used generically, i.e., to refer to the

22   class or genus of goods and services Plaintiff offers. Indeed, a review of relevant trade media

23   publications in the employee recognition space shows that the prevalent generic term used to describe

24   Plaintiff’s goods and services is “employee recognition software.” Boga Decl. Exs. J-L; Ashurov

25   Decl., Exs. 15-47 (references to “Kudos” are highlighted in each exhibit). Of course, more than one

26   generic term can exist, but there is no evidence that “kudos” is one of them. Moreover, such

27   publications clearly refer to KUDOS as a source of a product or service, and not as a type of product

28   or service. Id.

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 1                       iv. Use By Competitors

 2           Defendants have not come forward with any evidence of generic uses of “kudos,” i.e., uses of

 3   “kudos” as the genus or class of a good or service, by Plaintiff’s competitors. To the contrary, one of

 4   Plaintiff’s most direct competitors, Bonusly, refers to Kudos as the source of Plaintiff’s goods and

 5   services. Ashurov Decl., Ex. 48. Moreover, product review websites containing Plaintiff’s

 6   competitor’s description of their products show no use of “kudos” in a generic manner. See e.g.,

 7   Ashurov Decl. Exs. 17, 19.

 8                       v. Testimony of Persons in the Trade and Consumer Surveys

 9           Defendants have not offered any testimony from persons in Plaintiff’s trade and have not

10   offered any consumer survey evidence to dispute the presumption, and other overwhelming

11   supporting evidence that the KUDOS Marks are not generic. The only survey conducted in this

12   action was a survey conducted by Plaintiff’s expert witness Mark Keegan. Ashurov Decl., Ex. 49.

13   While the survey was conducted for purposes of measuring a likelihood of confusion, and not

14   genericness directly, the results of the survey suggest that consumer understand KUDOS as a

15   trademark. Id. at 2 (“It is also notable that among respondents who indicated a belief that

16   KUDOBOARD and KUDOS are the same company or are somehow affiliated, nearly half—44.7

17   percent—mentioned the name similarity between the two marks as a reason for their belief.”)

18   (emphasis added).

19           Defendants have disclosed an expert report prepared by a linguist named William Eggington

20   which purports to support the idea that the KUDOS Marks are generic. However, at his deposition, he

21   confirmed that his data offers no support for the idea that the KUDOS Marks are used to describe a

22   class or genus of any kind of product or service. Ashurov Decl., Ex. 50, 222:4-19.

23             06:27:39 4         Q. From your research do you understand kudos

24             06:27:42 5 to refer to any class or type or genus of a product?

25             06:27:52 6         A. No, I didn't -- I'm not aware of any

26             06:27:59 7 because I didn't research that.

27           Courts have excluded linguists’ reports for this very reason. See, e.g., D. H. Pace Co., Inc. v.

28   Aaron Overhead Door Atlanta LLC, No. 1:17-CV-3430-MHC, 2021 WL 2821679, at *8 (N.D. Ga.

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 1   Mar. 2, 2021) (excluding linguistics expert report as “unhelpful” where linguistics expert did not

 2   answer the question of whether a disputed term was actually a genus of products or services). At best,

 3   William Eggington’s report shows that internet users at times casually use “kudos” in a manner

 4   which is consistent with the term’s plain dictionary meaning. This is unsurprising considering

 5   “kudos” is a dictionary term, and such usage offers no support to Defendants’ claim of genericness.

 6   Accordingly, Eggington’s report is insufficient to create an inference of genericness for “kudos.”

 7   VI.     ARGUMENT: PLAINTIFF’S CLAIMS ARE NOT BARRED BY LACHES

 8           Approximately 13 months passed from the time Plaintiff discovered Defendants and their

 9   objectionable use of KUDOBOARD until the time Plaintiff filed its Complaint in this action (ECF

10   No. 1). Boga Decl. ¶¶ 17-22. For the majority of that time period, Plaintiff was engaged in

11   discussions with Defendants about a potential business relationship, and later, about seeking an

12   amicable resolution to Defendants’ objectionable use of KUDOBOARD. Id. Accordingly, Plaintiff’s

13   “delay,” if there was any, is well below the 4 year threshold that applies here, and Defendants’ laches

14   defense fails as a matter of law. Jarrow Formulas, 304 F.3d at 835.

15   VII.    CONCLUSION

16           For the reasons set forth herein above, the Court should dismiss with prejudice Defendants’

17   genericness counterclaim and Second Affirmative Defense of genericness. The Court should also

18   dismiss with prejudice Defendants’ Seventh Affirmative Defense of laches.

19
              Dated: September 25, 2021                 Respectfully submitted,
20
                                                        KB ASH LAW GROUP P.C.
21

22                                                      By: /s/ Benjamin Ashurov
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27

28

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